Case 6:15-cr-02053-CJW-MAR   Document 82   Filed 01/20/16   Page 1 of 8
Case 6:15-cr-02053-CJW-MAR   Document 82   Filed 01/20/16   Page 2 of 8
Case 6:15-cr-02053-CJW-MAR   Document 82   Filed 01/20/16   Page 3 of 8
Case 6:15-cr-02053-CJW-MAR   Document 82   Filed 01/20/16   Page 4 of 8
Case 6:15-cr-02053-CJW-MAR   Document 82   Filed 01/20/16   Page 5 of 8
Case 6:15-cr-02053-CJW-MAR   Document 82   Filed 01/20/16   Page 6 of 8
Case 6:15-cr-02053-CJW-MAR   Document 82   Filed 01/20/16   Page 7 of 8
Case 6:15-cr-02053-CJW-MAR   Document 82   Filed 01/20/16   Page 8 of 8
